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                                                                                                           '

                              UNITED STATES DISTRICT COURT
                              SOUTHERN DISTRICT OF FLORIDA

                  CASE NO.       18-80122-CR-MIDDLEBROOKS/BRANNON(s)
                                         18 u.s.c. § 1349
                                         21 u.s.c. § 846
                                         21 U.S.C. § 841(a)(1)
                                         18 U.S.C. § 1512(c)
                                         18 u.s.c. § 982
                                         18 U.S.C. § 981(a)(1)(C)
                                         28 U.S.C. § 2461(c)

  UNITED STATES OF AMERICA                                                   FILED BY _Sg,.
                                                                                        :f_ _ D.C.
  v.
                                                                                    AUG 2 8 2018
  ARMAN ABOVYAN and                                                                STEVEN M. LARIM ORE
  TINA MARIE BARBUTO,                                                               CLERK U.S DIST CT
                                                                                    S.D OF FLA. - \V PB.

       Defendants.
  _____________________________.!

                                  SUPERSEDING INDICTMENT

          The Grand Jury charges that:

                                    GENERAL ALLEGATIONS

          At all times material to this Superseding Indictment:

                                       The Treatment Centers

          1.      Journey to Recovery LLC ("Journey") was located at 7451 S. Military Trail, Lake

   Worth, Florida, in Palm Beach County.      Journey purported to operate as a licensed "substance

   abuse service provider" or "treatment center," that is, it purportedly offered clinical treatment

   services for persons suffering from alcohol and drug addiction.

          2.      Reflections Treatment Center, LLC ("Reflections") was located at 5100 Coconut

   Creek Parkway, Margate, Florida, in Broward County.        Reflections purported to operate as a

   licensed "substance abuse service provider" or "treatment center," that is, it purportedly offered

   clinical treatment services for persons suffering from alcohol and drug addiction.
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           3.      Although co-conspirator Kenneth Chatman owned and managed all aspects of

    Journey and Reflections Uointly referred to as "the Treatment Centers"), co-conspirator Laura

    Chatman was listed as the sole owner of the Treatment Centers on the corporate records filed with

    the State of Florida, and as the sole owner, Chief Executive Officer, and Chief Financial Officer

    of the Treatment Centers on the licensing documents filed with the Florida Department of Children

    and Families ("DCF").

                                             The Laboratories

           4.      Co-conspirator Smart Lab LLC was a clinical laboratory located in the Southern

    District of Florida that performed urine testing for the Treatment Centers.

           5.      Lab #2 was a laboratory located in the Northern District of Texas that performed

    urine and other testing for the Treatment Centers.

                                              The Pharmacies

           6.      Pharmacy #1 was a national retail pharmacy w ith locations throughout the Southern

    District ofF iorida that filled prescriptions for patients of the Treatment Centers.

           7.      Pharmacy #2 was a national retail pharmacy with locations throughout the Southern

    District of Florida that filled prescriptions for patients of the Treatment Centers.

                                              The Defendants

           8.      Defendant ARMAN ABOVYAN, a licensed medical doctor in the State ofFiorida,

    was the Medical Director of Journey and Reflections from in or around Ju ly 2016 to in or around

    December 2016.      As medical director, defendant ARMAN ABOVYAN was responsible for

    evaluating patients, developing appropriate plans of treatment, and prescribing medically

    necessary treatment and testing.



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           9.        Defendant TINA MARIE BARBUTO served as the Assistant Clinical Director of

    Reflections from in or around December 2015 to in or around November 2016, and served as the

    Clinical Director of Reflections from in or around November 2016 to in or around December 2016.

    Defendant TINA MARIE BARBUTO was licensed by the State of F lorida as a Licensed Mental

    Health Counselor.     As Clinical Director, defendant TINA MARIE BARBUTO was responsible

    for supervising clinical services, including regu larly reviewing the work performed by subordinate

    employees.       Fla. Admin. Code § 65D-30 .004(32) .      "Clinical services" included screening,

    assessment, placement, treatment planning, counseling, and case management.                Fla. Admin.

    Code§ 65D-30 .002(12) .      Defendant TINA MARIE BARBUTO was not a medical doctor and

    was not authorized to write prescriptions for medications, treatment, or laboratory testing or to

    provide statements regarding the purported medical necessity of medications, treatment, or

    laboratory testing.

                           Federal Guidelines for Substance Abuse Treatment

           10.       The U.S. Department ofHealth and Human Services, Substance Abuse and Mental

    Health Services Administration, Center for Substance Abuse Treatment (" SAMHSA") was tasked

    with establishing and implementing a comprehensive program to improve the provision of

    treatment and related services to individuals with respect to substance abuse and with protecting

    the legal rights of individuals who are substance abusers.      42 U.S.C. § 290aa.

           11 .      " Substance abuse" is defined as "the abuse of alcohol or other drugs."     42 U.S .C.

    § 290cc-34(4).     "Treatment" means "the management and care of a patient suffering from alcohol

    or drug abuse, a condition which is identified as having been caused by that abuse, or both, in order

    to reduce or eliminate the adverse effects upon the patient."     42 C.F.R. § 2.11.



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            12.     In addition to substance abuse treatment programs, SAMHSA promulgated

    guidelines for sober homes.      Sober homes generally did not provide medical care or clinical

    services to their residents.   When properly managed, sober homes operated as alcohol and drug

    free living environments for individuals attempting to abstain from alcohol and drugs, including

    providing a peer support network of individuals in recovery.

            13.     SAMHSA, in connection with the Drug Enforcement Administration ("DEA''),

    also regulated the use of prescription opioids to treat opioid addiction.   Buprenorphine, which

    was known by a number of brand names, including Suboxone, Subutex, and Zubsolv, was a

    Schedule III controlled substance, that is, it had a potential for abuse and, even when used as

    prescribed, could cause physical and psychological dependence.        When properly prescribed,

    buprenorphine could be used to treat individuals suffering from opioid addiction.

            14.     Due to the potential for abuse and misuse among people who were already suffering

    from an addiction to opioids, SAMHSA and DEA put in place a licensing regimen, wherein

    licensed physicians who were already registered with the DEA to prescribe controlled substances

    could receive specialized training and apply for authorization to prescribe Buprenorphine to treat

    opioid addiction.    After meeting SAMHSA' s requirements, applicants would receive a second

    registration from the DEA, known as a DEA "X-number," which allowed these physicians to

    lawfully prescribe Buprenorphine to treat opioid addiction in accordance with DEA, SAMHSA,

    and state prescribing requirements.

                                   Substance Abuse Treatment in Florida

            15.     Substance abuse services in Florida were governed by the "Hal S. Marchman

    Alcohol and Other Drug Services Act" ("the Marchman Act"), Fl. Stat. § 397.301.         Amongst

    other things, the Marchman Act made it unlawful for any person or agency to act as a substance

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    abuse service provider unless it was properly licensed.     Fl. Stat. § 397.401 (1 ); Fl. Admin. Code

    § 65D-300.003(1)(a).       Under the Marchman Act, private substance abuse service providers '

    policies regarding payment for services had to comply with federal and state law.          Fl. Stat. §

    397.431

           16.        The Florida Department of Children and Families was tasked with regulating and

    licensing substance abuse service providers.     Fl. Stat. § 397.321.

            17.       To insure the legitimacy of substance abuse service providers and to protect the

    health and welfare of patients, all substance abuse service provider personnel , including all owners,

    directors, and chief financial officers, had to pass a " level 2 background screening," including

    "fingerprinting for statewide criminal history records checks through the Department of Law

    Enforcement, and national criminal history records checks through the Federal Bureau of

    Investigation."     Fl. Stat. §§ 397.451(1)(a)(l), 435.04(1)(a).    Persons with qualifying felony

    convictions, including co-conspirator Kenneth Chatman, a/kla "Kenny," were ineligible to own,

    operate, or serve as personnel at licensed substance abuse service providers, including the

    Treatment Centers.

            18.       The Marchman Act also provided guidelines for sober homes/recovery residences,

    which were defined as "a residential dwelling unit, or other form of group housing that is offered

    or advertised ... as a residence that provides a peer-supported, alcohol-free, and drug-free living

    environment."      Fl. Stat. § 397.311(36).

                                 Payment for Substance Abuse Treatment

              19.     Insurance coverage for substance abuse treatment and testing was available through

    a number of avenues, including federal health care benefits programs like the Federal Employees

    Health Benefits Program ("FEHBP")), health plans sponsored by private employers (including the

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    National Railroad Passenger Corporation ("Amtrak") employee health care benefit plans), and

    health plans offered directly by private insurance companies.     Health plans sponsored by private

    employers are governed by the Employee Retirement Income Security Act of 1974 ("ERISA"), 29

    U.S.C. §§ 1001 , et seq., while those sponsored by governmental employers and certain others are

    exempted from ERISA'sjurisdiction.

           20.     Both ERISA and non-ERISA health benefit plans, including Affordable Care Act

    plans, were offered or administered by private insurance companies, including Blue Cross/Blue

    Shield ("BCBS"), Aetna, Cigna Behavioral Health, Cigna Health & Life Insurance Company,

    United Behavioral Health, and United Health Group.

           21.     Journey, Reflections, Smart Lab LLC, Lab #2, Pharmacy #1 , and Pharmacy #2

    submitted claims for reimbursement to more than forty health benefit plans, including the FEHBP

    plans, Amtrak' s established plans, and private ERISA and non-ERISA health benefit plans Uointly

    referred to as "the Insurance Plans").

           22.     The Insurance Plans were "health care benefit programs," as defined in Title 18,

    United States Code, Section 24(b), that is " public or private plans or contracts, affecting

    commerce, under which any medical benefit, item or service is provided to any individual. "

           23.     Regard less of the type of Insurance Plan held by a patient, the amount of coverage

    and terms and conditions of billing and payment were governed by the terms of the patient's

    insurance documents, and the insurance company administering the plan had the authority,

    responsibility, and discretion to make coverage determinations and to process and make payments

    on claims.

           24.     The "Florida Patient Brokering Act," made it a felony offense for any person, health

    care provider, or health care facility, including any state licensed substance abuse service provider,

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    to: "(a) Offer or pay any commission, bonus, rebate, kickback, or bribe, directly or indirectly, in

    cash or in kind, or engage in any split-fee arrangement, in any form whatsoever, to induce the

    referral of patients or patronage to or from a health care provider or health care facility ; (b) Solicit

    or receive any commission, bonus, rebate, kickback, or bribe, directly or indirectly, in cash or in

    kind, or engage in any split-fee arrangement, in any form whatsoever, in return for referring

    patients or patronage to or from a health care provider or health care facility; (c) Solicit or receive

    any commission, bonus, rebate, kickback, or bribe, directly or indirectly, in cash or in kind, or

    engage in any split-fee arrangement, in any form whatsoever, in return for the acceptance or

    acknowledgement of treatment from a health care provider or health care facility ; or (d) Aid, abet,

    advise, or otherwise participate in the conduct prohibited under paragraph (a), paragraph (b), or

    paragraph (c)."     Fla. Stat.§ 817.505.

            25.       Florida law also provided that it was "a material omission and insurance fraud ...

    for any service provider, other than a hospital, to engage in a general business practice of billing

    amounts as its usual and customary charge, if such provider has agreed with the insured or intends

    to waive deductibles or copayments, or does not for any other reason intend to collect the total

    amount of such charge."       Fla. Stat. § 817.234(7)(a).

            26.       Under the terms of the insurance policies and consistent with state and federal law,

    the Insurance Plans were only responsible for claims for services and prescription medications

    that: (a) were "medically necessary" and actually rendered, (b) were provided and prescribed by a

    properly licensed service provider, and (c) complied with the terms of the health care plans,

    including the obligation to pay co-insurance and deductibles.




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                                            Bodily Fluid Testing

           27 .       Bodily fluid testing could be used to detect recent drug or alcohol use by a client

    by conducting various tests on a client's urine, blood, and saliva.      Urine Analysis or urinalysis

    ("UA") testing ranged in complexity from screening tests - also known as point of care ("POC")

    testing - which provided instant results, to confirmatory testing, which was sent to a laboratory,

    for more complex analysis.        Laboratories could also conduct complex analysis on blood and

    saliva samples.

           28.        Like other medical tests, bodily fluid testing could be billed and reimbursed

    pursuant to the terms of the insurance policy.         The Insurance Plans were only responsible for

    claims for testing that was "medically necessary," actually performed, prescribed, and conducted

    by a properly licensed service provider in accordance with state and federal law, and conducted

    and billed in compliance with the terms of the health care plan, including the obligation to pay co-

    msurance.

           29.        The Insurance Plans provided guidance to service providers, including physicians,

    substance abuse treatment centers, and laboratories, for the types and frequency of testing that

    would be reimbursable.       This guidance was based upon policy statements from the American
                                                 '
    Society of Addiction Medicine ("ASAM"), publications by expert researchers in the area of

    substance abuse treatment, and policies of federal and state governmental agencies.

                                              Count 1
                      (Conspiracy to Commit Health Care Fraud - 18 U.S.C. § 1349)

           30.        Paragraphs 1-29 of the "General Allegations" section of this Superseding

    Indictment are re-alleged and incorporated by reference as if fully set forth herein.




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           31 .    From at least as early as December 2015, through in or around December 2016, the

    exact dates being unknown to the Grand Jury, in Palm Beach and Broward Counties, in the

    Southern District of Florida, and elsewhere, the defendants,

                                        ARMAN ABOVYAN
                                              and
                                      TINA MARIE BARBUTO,

    did knowingly and willfully combine, conspire, confederate, and agree with each other and others

    known and unknown to the Grand Jury, to vio late Title 18, United States Code, Section 1347, that

    is, in connection with the delivery of and payment for health care benefits, items, and services, to

    execute and attempt to execute, a scheme and artifice to: (a) defraud health care benefit programs,

    as defined by Title 18, United States Code, Section 24(b); and (b) obtain, by means of materially

    false and fraudu lent pretenses, representations, and promises, any of the money and property

    owned by, and under the custody and control of, health care benefit programs, as defined by Title

    18, United States Code, Section 24(b).

                                  OBJECT OF THE CONSPIRACY

           32.     It was the object of the conspiracy for the defendants to unlawfully enrich

    themselves and others, by defrauding health care benefit programs and obtaining the money of

                                                                   .
    health care benefit programs to which the members of the conspiracy were not entitled .

                             MANNER AND MEANS OF THE CONSPIRACY

           33 .    The manner and means by which the defendants sought to accomplish the object of

    the conspiracy included, among other things, the fo llowing:

                   a.     Co-conspirators opened and established relationships with recovery

    residences, commonly referred to as "sober homes," that were purportedly in the business of

    providing safe and drug-free residences for individuals suffering from drug and alcohol addiction.

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                    b.      To obtain residents for the sober homes, co-conspirators provided kickbacks

     and bribes, in the form of free or reduced rent and other benefits to individuals with insurance who

     agreed to reside at the sober homes, attend drug treatment, and submit to regular and random drug

     testing (typically three or more times per week), so that members of the conspiracy could bill the

     testing and treatment to the residents' Insurance Plans.

                    c.      Although the sober homes were purportedly drug-free residences, co-

     conspirators permitted the residents to continue using drugs as long as they attended treatment and

     submitted to drug testing.   In some instances, co-conspirator Kenneth Chatman, alkla "Kenny,"

     and other co-conspirators provided residents with drugs.

                    d.      Co-conspirators Kenneth Chatman, alkla "Kenny," Stefan Gatt, and Laura

     Chatman, and persons known and unknown to the Grand Jury established substance abuse

     treatment centers, including Journey and Reflections, which were purportedly in the business of

     providing effective clinical treatment services for persons suffering from alcohol and drug

     addiction.

                    e.      Defendant TINA MARIE BARBUTO and co-conspirators Kenneth

     Chatman, alkla "Kenny," Laura Chatman, Stefan Gatt, Barry Gregory, and other co-conspirators

     created and signed documents to conceal the fact that Kenneth Chatman, alkla "Kenny," had an

     ownership and managerial interest in Journey and Reflections because Kenneth Chatman, alkla

     "Kenny" could not lawfully own or operate a substance abuse treatment center licensed by the

     State ofFlorida.

                    f.      Defendant TINA MARIE BARBUTO prepared licensing and accrediting

     documents and co-conspirator Laura Chatman signed and submitted documents to DCF and

     appeared at Journey and Reflections for inspections by DCF and other accrediting agencies in

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     order to conceal co-conspirator Kenneth Chatman's ownership and management of Journey and

     Reflections.

                    g.     Co-conspirators who owned, operated and managed sober homes referred

     the residents with insurance to become patients at Journey and Reflections, in return for kickbacks

     and bribes from co-conspirator Kenneth Chatman, a!k/a "Kenny," which kickbacks and bribes

     were often disguised as marketing fees, consulting fees, commissions, and case management fees .

                    h.     Co-conspirators, including Kenneth Chatman, a!k/a "Kenny," directly and

     indirectly solicited and received kickbacks and bribes from co-conspirator clinical laboratory

     agents and employees for referring the bodily fluid testing related to patients of Journey and

     Reflections to the clinical laboratories that, in turn, would bill the patients' Insurance Plans.

     These kickbacks and bribes were sometimes disguised as gifts, investments, and dividends.

                    1.     Members of the conspiracy required the sober home residents to travel to

     Journey and Reflections approximately three times per week to attend purported substance abuse

     treatment sessions and to submit to drug testing that could be billed to the Insurance Plans by

     Journey, Reflections, Smart Lab LLC, and Lab #2.       To this end, Journey and Reflections sent

     vans, often operated by members of the conspiracy, to the sober homes to transport the residents

     to Journey and Reflections.

                    J.     In many instances, sober home residents were not present when the van

     arrived and therefore did not attend the purported treatment sessions at Journey and Reflections

     and did not provide bodily fluid samples for drug testing.     On such occasions, employees of

     Journey and Reflections and other persons known and unknown to the Grand Jury forged patients '

     signatures on sign-in sheets to make it appear as though absent patients had attended treatment and

     submitted bodily fluid samples.

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                    k.      Co-conspirators would obtain urine and saliva samples from employees of

     Journey and Reflections and from other patients, and submit these samples for testing as if they

     had been obtained from the absent patients.

                    I.      Defendant TINA MARIE BARBUTO and co-conspirators caused

     confirmatory testing to be performed and testing and substance abuse treatment to be billed for

     patients knowing that the patients had been discharged or had left the treatment centers and were

     no longer receiving treatment or submitting bodily fluid samples for testing at the treatment

     centers.

                    m.      Co-conspirator Kenneth Chatman, a/kla "Kenny," with the assistance of

     defendant TINA MARIE BARBUTO, hired doctors, including defendant ARMAN ABOVYAN,

     to serve as medical directors of his treatment centers.   Co-conspirators Kenneth Chatman, a/kla

     "Kenny," and Laura Chatman paid the medical directors, including defendant ARMAN

     ABOVYAN, a monthly salary and in return the medical directors ordered drug testing for the

     treatment center patients, regardless of whether such testing was medically necessary or conducted

     and billed in compliance with the terms of the Insurance Plans.         When a medical director

     informed defendant TINA MARIE BARBUTO that he would not prescribe the medically

     unnecessary lab testing that would maximize kickbacks to co-conspirator Kenneth Chatman,

     CHATMAN, with the assistance of defendant TINA MARIE BARBUTO, fired the medical

     director.

                    n.      Thereafter, defendant TINA MARIE BARBUTO assisted co-conspirator

     Kenneth Chatman, a/kla "Kenny," in hiring defendant ARMAN ABOVYAN to serve as medical

     director and to prescribe the med ically unnecessary lab testing and to prescribe Buprenorphine for

     the detoxification and treatment of persons suffering from opioid addiction knowing that defendant

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     ARMAN ABOVYAN did not have the proper certifications from SAMHSA or the DEA to

     prescribe those medications.

                    o.      Defendant ARMAN ABOVYAN and co-conspirators ordered and caused

     the ordering of expensive urine and saliva drug screens that were not medically necessary or

     reimbursable, in that (i) the confirmatory tests were duplicative because patients' urine and saliva

     samples were sent to multiple laboratories for the same tests; (ii) the test results were not timely

     reviewed or used by a doctor or treatment professional in developing or modifying the patients'

     treatment plans; (iii) tests were not ordered until after the tests were performed; and (iv) the tests

     were not determined to be medically necessary on an individualized basis by' a doctor prior to

     being performed.

                    p.      Defendant ARMAN ABOVYAN electronically signed hundreds of lab test

     results for Reflections' patients falsely certifying that he had reviewed the results and the

     statements of medical necessity for the lab testing despite the fact that the results were weeks or

     months old and many of the patients had already left the Treatment Centers.

                    q.      Defendants ARMAN ABOVYAN and TINA MARIE BARBUTO and

     other co-conspirators provided after-the-fact statements of medical necessity to clinical

     laboratories for bodily fluid testing that had not been properly prescribed or authorized when

     performed so that Smart Lab and Lab #2 could bill the Insurance Plans.

                    r.      Despite his lack of certifications from SAMHSA and DEA, defendant

     ARMAN ABOVYAN prescribed controlled substances, including Buprenorphine, to patients at

     Journey and Reflections, and provided blank, pre-signed prescriptions to other individuals who

     were not certified by SAMHSA and DEA to prescribe Buprenorphine, that those individuals used

     to prescribe Buprenorphine and other controlled substances without those patients being examined

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     by defendant ARMAN ABOVYAN.               Even after defendant ARMAN ABOVYAN obtained a

    certification to prescribe Buprenorphine, he failed to comply with federal and state regulations

     regarding the proper prescribing ofBuprenorphine and he continued to provide blank, pre-signed

     prescriptions to other unlicensed individuals that were used to dispense Buprenorphine and other

    controlled substances.

                    s.       Defendant TINA MARIE BARBUTO and co-conspirators, including

    Kenneth Chatman, a/kla "Kenny," withheld Buprenorphine from patients for whom the drug had

     been prescribed, causing those patients to suffer from the physical and psychological effects of

     withdrawal , and retained Buprenorphine that had been prescribed to patients who voluntarily or

     involuntarily left Reflections.

                    t.       Defendant TINA MARIE BARBUTO and co-conspirators, including

    Kenneth Chatman, a/kla "Kenny," provided Buprenorphine that had been taken from patients '

     prescriptions to give to other individuals who had not been prescribed Buprenorphine.

                    u.       Members of the conspiracy elected not to collect mandatory co-pays,

     deductibles, and other co-insurance from patients that could cause patients to be unable or

     unwilling to submit to testing and treatment so that the members of the conspiracy could, instead,

     collect the much larger reimbursements from the Insurance Plans.                The members of the

     conspiracy did not inform the Insurance Plans that they were not collecting the co-insurance

     payments as required by the terms of the Insurance Plans.

                    v.       Defendants ARMAN ABOVYAN and TINA MARIE BARBUTO and co-

     conspirators prepared and caused the preparation and submission to the Insurance Plans of

     fraudulent insurance claim forms , that is, (i) the claims falsely stated that the testing and treatment

     had been medically necessary and actually rendered when, in truth and in fact, some of the claimed

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     testing and treatment had not been necessary or performed; (ii) the claims failed to disclose that

     the patients had not been asked to pay their co-payments and deductibles; and (iii) the claims failed

     to disclose that Journey and Reflections had obtained their licenses through false statements and

     om1ss1ons.

                    w.      Defendant TINA MARIE BARBUTO and co-conspirators directly and

     indirectly maintained control over residents by threatening violence and confiscating their

     belongings, car keys, telephones, medications, and food stamps, in order to maintain the ability to

     continue billing their Insurance Plans.

                    x.      Defendant TINA MARIE BARBUTO and co-conspirators required

     patients and parents to sign or submit false statements disclaiming their complaints of mistreatment

     and fraud at Journey and Reflections in order to receive their belongings, medication, and

     information regarding the whereabouts of their children.

                    y.      After learning that Journey and Reflections were under investigation,

     defendant TINA MARIE BARBUTO and co-conspirators removed patient records and

     belongings, including documents containing confidential substance abuse treatment information

     and patient identifying information, and placed them in a storage space rented by defendant TINA

     MARIE BARBUTO to keep them from being discovered by law enforcement.

             All in violation of Title 18, United States Code, Section 1349.




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                                                   COUNT2

            From at least as early as July 20, 2016, the exact date being unknown to the Grand Jury,

     through on or about December 30, 2016, in Palm Beach and· Broward Counties, in the Southern

     District of Florida, and elsewhere, the defendants,

                                           ARMAN ABOVYAN
                                                 and
                                         TINA MARIE BARBUTO,

     did knowingly and willfully combine, conspire, confederate, and agree with each other and with

     Kenneth Chatman and other persons known and unknown to the Grand Jury, to distribute, possess

     with intent to distribute, and dispense outside the scope of professional practice and not for a

     legitimate medical purpose, a controlled substance, in violation of Title 21, United States Code,

     Section 841(a)(1); all in violation of Title 21 , United States Code, Section 846.

            Pursuant to Title 21 , United States Code, Section 841 (b )(1 )(C), it is further alleged that this

     violation involved a Schedule II controlled substance, that is, a mixture and substance containing

     a detectable amount of amphetamine.

            Pursuant to Title 21 , United States Code, Section 841 (b )(1 )(C), it is further alleged that this

     violation involved a Schedule II controlled substance, that is, a mixture and substance containing

     a detectable amount of lisdexamfetamine.

            Pursuant to Title 21 , United States Code, Section 841 (b )(1 )(C), it is further alleged that thi s

     violation involved a Schedule II controlled substance, that is, a mixture and substance containing

     a detectable amount of dextroamphetamine.

            Pursuant to Title 21 , United States Code, Section 841 (b )(1 )(E), it is further alleged that this

     violation involved a Schedule III controlled substance, that is, a mixture and substance containing

     a detectable amount of buprenorphine.

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            Pursuant to Title 21 , United States Code, Section 841(b)(2), it is further alleged that this

     violation involved a Sched ule IV controlled substance, that is, a mixture and substance contain ing

     a detectable amount of clonazepam.

            Pursuant to Title 21 , United States Code, Section 841 (b )(2), it is further alleged that this

     vio lation involved a Schedu le IV controlled substance, that is, a mixture and substance containing

     a detectable amo unt of lorazepam.

            Pursuant to Title 2 1, United States Code, Section 841(b)(2), it is further alleged that this

     violation involved a Schedule IV controlled substance, that is, a mixture and substance containing

     a detectable amount of phenobarbital.

                                                  COUNT3

            On or about July 20, 2016, in Broward County, in the Southern District of Florida, the

     defendants,

                                          ARMAN ABOVYAN
                                                and
                                        TINA MARIE BARBUTO,

     did knowingly and intentionally distribute and dispense outside the scope of professional practice

     and not for a legitimate medical purpose, a controlled substance to Patient #1; in vio lation of Title

     21 , United States Code, Section 841(a)(l), and Title 18, United States Code, Section 2.

            Pursuant to Title 21, United States Code, Section 841 (b )(1 )(E), it is further alleged that this

     violation involved a Schedule III controlled substance, that is, a mixture and substance containing

     a detectable amount of buprenorphine.




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                                                   COUNT4

            On or about July 25, 2016, in Broward County, in the Southern District of Florida, the

     defendants,

                                           ARMAN ABOVYAN
                                                 and
                                         TINA MARIE BARBUTO,

     did knowingly and intentionally distribute and dispense outside the scope of professional practice

     and not for a legitimate medical purpose, a controlled substance to Patient #2 ; in violation of Title

     21 , United States Code, Section .841(a)(1), and Title 18, United States Code, Section 2.

            Pursuant to Title 21 , United States Code, Section 841(b)(1)(E), it is further alleged that this

     violation involved a Schedule III controlled substance, that is, a mixture and substance containing

     a detectable amount of buprenorphine.

                                                   COUNTS

            On or about July 25 , 2016, in Broward County, in the Southern District of Florida, the

     defendants,

                                           ARMAN ABOVYAN
                                                 and
                                         TINA MARIE BARBUTO,

     did knowingly and intentionally distribute and dispense outside the scope of professional practice

     and not for a legitimate medical purpose, a controlled substance to Patient #3; in violation of Title

     21 , United States Code, Section 841(a)(l), and Title 18, United States Code, Section 2.

            Pursuant to Title 21 , United States Code, Section 841 (b )(1 )(E), it is further alleged that this

     violation involved a Schedule III controlled substance, that is, a mixture and substance containing

     a detectable amount of buprenorphine.



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                                                   COUNT6

            On or about July 27, 2016, in Broward County, in the Southern District of Florida, the

    defendants,

                                           ARMAN ABOVYAN
                                                 and
                                         TINA MARIE BARBUTO,

    did knowingly and intentionally distribute and dispense outside the scope of professional practice

    and not for a legitimate medical purpose, a controlled substance to Patient #4; in violation of Title

    21, United States Code, Section 841(a)(1), and Title 18, United States Code, Section 2.

            Pursuant to Title 21 , United States Code, Section 841 (b )(1 )(E), it is further alleged that this

     violation involved a Schedule III controlled substance, that is, a mi xture and substance containing

    a detectable amount of buprenorphine.

                                                   COUNT7

            On or about August 3, 2016, in Broward County, in the Southern District of Florida, the

     defendants,

                                           ARMAN ABOVYAN
                                                 and
                                         TINA MARIE BARBUTO,

     did knowingly and intentionally distribute and dispense outside the scope of professional practice

     and not for a legitimate medical purpose, a controlled substance to Patient #5; in violation of Title

     21, United States Code, Section 841 (a)(l ), and Title 18, United States Code, Section 2.

            Pursuant to Title 21 , United States Code, Section 841(b)(1 )(E), it is further alleged that thi s

     violation involved a Schedule III controlled substance, that is, a mixture and substance containing

     a detectable amount of buprenorphine.



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                                                  COUNTS

            On or about August 29, 2016, in Broward County, in the Southern District of Florida, the

     defendants,

                                           ARMAN ABOVYAN
                                                 and
                                         TINA MARIE BARBUTO,

     did knowingly and intentionally distribute and dispense outside the scope of professional practice

     and not for a legitimate medical purpose, a controlled substance to Patient #2; in violation of Title

    21 , United States Code, Section 841(a)(l), and Title 18, United States Code, Section 2.

            Pursuant to Title 21, United States Code, Section 841 (b)( 1)(E), it is further alleged that this

     violation involved a Schedule III controlled substance, that is, a mixture and substance containing

    a detectable amount of buprenorphine.

                                                  COUNT9

            On or about August 31 , 2016, in Broward County, in the Southern District of Florida, the

    defendants,

                                          ARMAN ABOVYAN
                                                and
                                        TINA MARIE BARBUTO,

     did knowingly and intentionally distribute and dispense outside the scope of professional practice

     and not for a legitimate medical purpose, a controlled substance to Patient #6 ; in violation of Title

    21, United States Code, Section 841(a)(1), and Title 18, United States Code, Section 2.

            Pursuant to Title 21, United States Code, Section 841 (b )(1 )(E), it is further alleged that this

     violation involved a Schedule III controlled substance, that is, a mixture and substance containing

     a detectable amount of buprenorphine.



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                                                  COUNT 10

            On or about December 30, 2016, in Broward County, in the Southern District of Florida,

     the defendants,

                                           ARMAN ABOVYAN .
                                                 and
                                         TINA MARIE BARBUTO,

     did knowingly and intentionally possess with intent to distribute a controlled substance; in

     violation of Title 21, United States Code, Section 841(a)(l), and Title 18, United .states Code,

     Section 2.

            Pursuant to Title 21 , United States Code, Section 841 (b )(l)(C), it is further alleged that this

     violation involved a Schedule II controlled substance, that is, a mixture and substance containing

     a detectable amount of amphetamine.

            Pursuant to Title 21, United States Code, Section 841(b)(1)(C), it is further alleged that this

     violation involved a Schedule II controlled substance, that is, a mixture and substance containing

     a detectable amount of lisdexamfetamine.

            Pursuant to Title 21, United States Code, Section 841(b)(l)(C), it is further alleged that this

     violation involved a Schedule II controlled substance, that is, a mixture and substance containing

     a detectable amount of dextroamphetamine.

            Pursuant to Title 2 1, United States Code, Section 841 (b )(1 )(E), it is further alleged that thi s

     violation involved a Schedule III controlled substance, that is, a mixture and substance containing

     a detectable amount of buprenorphine.

            Pursuant to Title 21 , United States Code, Section 841 (b )(2), it is further alleged that this

     violation involved a Schedule IV controlled substance, that is, a mixture and substance containing

     a detectable amount of clonazepam.

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          Pursuant to Title 21, United States Code, Section 841(b)(2), it is further alleged that this

   violation involved a Schedule IV controlled substance, that is, a mixture and substance

   containing a detectable amount of lorazepam.

          Pursuant to Title 21 , United States Code, Section 841(b)(2), it is further alleged that this

   violation involved a Schedule IV controlled substance, that is, a mixture and substance

   containing a detectable amount of phenobarbital.

                                               COUNT 11

          On or about March 11 , 2016, in Broward County, in the Southern District of Florida, and

   elsewhere, the defendant,

                                      TINA MARIE BARBUTO,

   did corruptly obstruct, influence, impede, and attempt to obstruct, influence, and impede an

   official proceeding, that is, a grand jury proceeding and a trial; in violation of Title 18; United

   States Code, Sections 1512(c)(2) and 2.

                                               COUNT 12

          From in or around September 2016, the exact date being unknown to the Grand

   Jury, through in or around December 30, 2016, in Broward County, in the Southern District of

   Florida, and elsewhere, the defendant,

                                      TINA MARIE BARBUTO,

   did corruptly conceal and attempt to conceal a record, document, and other object, that is,

   medical files, personal belongings of patients, and medications, with the intent to impair their

   availability for use in an official proceeding, that is, a grand jury proceeding and a trial; in

   violation of Title 18, United States Code, Sections 1512(c)(1) and 2.



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                              CRIMINAL FORFEITURE ALLEGATIONS

            1.      The allegations of this Superseding Indictment are re-alleged and by this reference

     fully incorporated herein for the purpose of alleging criminal forfeiture to the United States of

     America of certain property in which the defendants, ARMAN ABOVYAN and TINA MARIE

     BARBUTO, have an interest.

            2.      Upon conviction of the violation alleged in Count 1 of this Superseding Indictment,

     the defendants, ARMAN ABOVYAN and TINA MARIE BARBUTO, shall forfeit to the United

     States all property, real and personal, which constitutes or is derived, directly or indirectly, from

     gross proceeds traceable to the commission of the offense.      Pursuant to Title 18, United States

     Code, Section 982(a)(7), Title 28, United States Code, Section 2461, Title 18, United States Code,

     Section 981(a)(1)(C), and Title 21, United States Code, Section 853.

            3.      If the property described above as being subject to forfeiture, as a result of any act

     or omission ofthe defendants,

                    (a)     cannot be located upon the exercise of due diligence;

                    (b)     has been transferred or sold to, or deposited with a third person;

                    (c)     has been placed beyond the jurisdiction of the Court;

                    (d)     has been substantially diminished in value; or

                    (e)     has been commingled with other property which cannot be

                    subdivided without difficulty ;

     it is the intent of the United States, pursuant to Title 21, United States Code, Section 853(p), to

     seek forfeiture of any other property of the defendants up to the value of the above forfeitable

     property.

            All pursuant to Title 28, United States Code, Section 2461, Title 18, United States Code,

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     Section 981(a)(l)(C), and Title 21, United States Code, Section 853 .

            4.     Upon conviction of any of the violations alleged in Counts 2 through 10 of this

     Superseding Indictment, the defendants, ARMAN ABOVYAN and TINA MARIE BARBUTO,

     shall forfeit to the United States of America any property constituting, or derived from, any

     proceeds the defendants obtained, directly or indirectly, as the result of such violation, and any

    property that was used, or intended to be used, in any manner or part, to commit, or to facilitate

     the commission of, such violation.

            All pursuant to Title 21 , United States Code, Section 853.

                                                          A TRUE BILL.




     BENJAMIN G. GRE   ERG
     UNITED STATES ATTORNEY



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     ASSISTANT UNITED STATES ATTORNEY




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                                                  COURT
                                             SOUTHERN DISTRICT OF FLORIDA


UNITED STATES OF AMERICA                                 CASE NO.
vs.
                                                         CERTIFICATE OF TRIAL ATTORNEY*
ARMAN ABOVYAN &
TINA MARJE BARBUTO,
               Defendant.
                                                         Superseding Case Information:


Court Division : (Select One)                            New Defendant(s)                         YES                      NO
                                                         Number of New Defendants
         Miami                  Key West _ _             Total number of counts
         FTL                    WPB     X    FTP

         I do hereby certify that:


         1.        I have carefully considered the allegations of the indictment, the number of defendants, the number of probable
                   witnesses and the legal complexities of the Indictment/Information attached hereto.

         2.        I am aware that the information supplied on this statement will be relied upon by the Judges of this Court in setting
                   their calendars and scheduling criminal trials under the mandate of the Speedy Trial Act, Title 28 U.S.C. Section
                   3161.
         3.        Interpreter:     (Yes or No)           No
                   List language and/or dialect
         4.        This case will take         10-15     days for the parties to try.
         5.        Please check appropriate category and type of offense li sted below:
                   (Check only one)                                                               (Check only one)


         I         0 to 5 days                                                          Petty
         II        6 to 10 days                                                         Minor
         III       11 to 20 days                            X                           Misdem.
         IV        21 to 60 days                                                        Felony                       x
         v         61 days and over

         6.        Has this case been previously filed in this District Court? (Yes or No) Yes
         If yes:
         Judge: Middlebrooks                                         Case No. 18-CR-80122-Middlebrooks/Brannon(s)
         (Attach copy of dispositive order)
         Has a complaint been filed in this matter? (Yes or No) No
         If yes: Magistrate Case No .
         Related Miscellaneous numbers:
         Defendant(s) in federal custody as of
         Defendant(s) in state custody as of
         Rule 20 from the
         District of

         Is this a potential death penalty case? (Yes or No) _ _Yes                     __x_No

         7.        Does this case originate from a matter pending in the Northern Region of the U.S. Attorney's Office prior to
                   October 14, 2003?                Yes          X     No

         8.        Does this case originate from a matter pending in the Central Region of the U.S. Attorney's Office prior to
                   September 1, 2007?               Yes         X     No




                                                                  ASSISTANT UNITED ST                     ES ATTORNEY
                                                                  Florida Bar No. 0018255

*Penalty Sheet(s) attached                                                                                               REV.9/l l/07
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                              UNITED STATES DISTRICT COURT
                              SOUTHERN DISTRICT OF FLORIDA

                                         PENALTY SHEET

   Defendant's Name: ARMAN ABOVYAN

   Case No: 18-80122-CR-MIDDLEBROOKS/BRANNON(s)

   Count# 1:
   Conspiracy to Commit Health Care Fraud

   Title 18, United States Code, Section 1349

   *Max. Penalty: 10 Years' Imprisonment; Fine of$250,000 or twice the gross loss or twice the
   gross gain; Supervised Release of 3 Years to Life; $1 00 Special Assessment.

   Count# 2:
   Conspiracy to Possess, Distribute, and Dispense Controlled Substances (Schedule II, III, & N)

   Title 21, United States Code, Section 846

   *Max. Penalty: 20 Years' Imprisonment; $1,000,000 fine; Supervised Release of 3 Years to
   Life; $100 Special Assessment.

   Counts# 3-9:
   Unlawful Dispensing of Controlled Substances (Schedule III)

   Title 21, United States Code, Section 841(a)(l)

   *Max. Penalty: 10 Years' Imprisonment; $500,000 fine; Supervised Release of2 Years to
   Life; $100 Special Assessment.

   Count# 10:
   Possession with Intent to Distribute Controlled Substances (Schedule II, III, & N)

   Title 21, United States Code, Section 841(a)(l)

   *Max. Penalty: 20 Years' Imprisonment; $1,000,000 fine; Supervised Release of3 Years to
   Life; $100 Special Assessment.



     *Refers only to possible term of incarceration, fines, and special assessments. Does not
   include possible restitution, parole terms, or forfeitures that may be applicable.
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                              UNITED STATES DISTRICT COURT
                              SOUTHERN DISTRICT OF FLORIDA

                                         PENALTY SHEET

   Defendant's Name: TINA MARIE BARBUTO

   Case No:   18-80122-CR-MIDDLEBROOKS/BRANNON(s)

   Count# 1:
   Conspiracy to Commit Health Care Fraud

   Title 18, United States Code, Section 1349

   *Max. Penalty: 10 Years' Imprisonment; Fine of$250,000 or twice the gross loss or twice the
   gross gain; Supervised Release of 3 Years to Life; $100 Special Assessment.

   Count# 2:
   Conspiracy to Possess, Distribute, and Dispense Controlled Substances (Schedule II, III, & IV)

   Title 21, United States Code, Section 846

   *Max. Penalty: 20 Years' Imprisonment; $1,000,000 fine; Supervised Release of3 Years to
   Life; $100 Special Assessment.

   Counts # 3-9:
   Unlawful Dispensing of Controlled Substances (Schedule III)

   Title 21, United States Code, Section 841(a)(1)

   *Max. Penalty: 10 Years' Imprisonment; $500,000 fine; Supervised Release of 2 Years to
   Life; $100 Special Assessment.

   Count# 10:
   Possession with Intent to Distribute Controlled Substances (Schedule II, III, & IV)

   Title 21, United States Code, Section 841(a)(1)

   *Max. Penalty: 20 Years' Imprisonment; $1,000,000 fine; Supervised Release of3 Years to
   Life; $100 Special Assessment.
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                             UNITED STATES DISTRICT COURT
                             SOUTHERN DISTRICT OF FLORIDA

                                    PENALTY SHEET (page 2)

   Defendant's Name: TINA MARIE BARBUTO

   Case No:   18-80122-CR-MIDDLEBROOKS/BRANNON(s)



   Counts# 11-12:
   Obstruction of Justice

   Title 18, United States Code, Section 1512(c)

   *Max. Penalty: 20 Years' Imprisonment; $250,000 fine; Supervised Release of3 Years; $100
   Special Assessment.



     *Refers only to possible term of incarceration, fines, and special assessments. Does not
   include possible restitution, parole terms, or forfeitures that may be applicable.
